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                         EXHIBIT M
               TO
     PLAINTIFFS’ RESPONSE TO
     DEFENDANTS’ MOTION FOR
       SUMMARY JUDGMENT
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 The second aspect of VR events is for volunteer sign-up. We will be using        template with iirc the
 addition of election integrity

 Action item:                   /              upload        docs in the county captains docs and files.

 Action item: Holly Holly / Ashe Ashe to create talking points for election integrity volunteer
 explanation, including some key stats to drive excitement once the stats are verified and public.



 For any other communication resources:

 Shawn's briefing that was presented to the GOP is a good source to draw from, given it's public and
 vetted. e.g. bi-partisan stats, CO officials stances and public statements on election integrity etc.

 Action item: Shawn Shawn team will be notified where/when posted in basecamp both in written, and
 video formats



 �

 File…

 May 5, 2021

 DataJeff

 DataJeff, Analytics Lead

 I miss 1 meeting and it's a big one...



 �

 File…

 May 5, 2021

 Ashe

 Ashe, ADMIN

 I’ll get my action done tomorrow! Great meeting on the Bandimere event on May 27. I’ll fill y’all in
 tomorrow - I just got home!

 File…



 Add a comment here…

 Subscribers
